      Case 2:17-cr-00128-RMP       ECF No. 218   filed 11/01/17   PageID.522 Page 1 of 2




 1
 2
 3
 4
 5
 6
 7                         UNITED STATES DISTRICT COURT
 8                       EASTERN DISTRICT OF WASHIGNTON
 9
10   UNITED STATES OF AMERICA,                        No. 2:17-CR-00128-RMP-1
11
12                        Plaintiff,                  ORDER MODIFYING
                                                      CONDITIONS OF PRETRIAL
13                        v.                          RELEASE
14   DAVID M. BERARDUCCI,
                                                              MOTION GRANTED
15                                                              (ECF No. 216)
16                        Defendant.
17
18         Before this Court is Defendant’s Motion for Modification of Pretrial Release
19   Conditions (Unopposed). ECF No. 216. Specifically, Defendant asks the Court to
20   modify Special Condition of Release No. 28, which requires Defendant to
21   participate in an electronic monitoring program which includes the wearing of a
22   GPS ankle monitor.
23         Defendant, through counsel, recites that since his initial appearance before
24   this Court, he has obtained employment in concrete construction and that the anklet
25   interferes with his ability to wear appropriate footwear (steel-toed boots) at his job.
26   ECF No. 216 at 2-3. Defendant further reports that he has been compliant with the
27   terms of his supervised release, with no violations or missed appointments. ECF
28   No. 216 at 2.

     ORDER - 1
      Case 2:17-cr-00128-RMP     ECF No. 218    filed 11/01/17   PageID.523 Page 2 of 2




 1         Defendant, through counsel, has contacted both the United States and U.S.
 2   Probation regarding this request and reports that neither opposes the proposed
 3   modification.
 4         Therefore, IT IS HEREBY ORDERED, that Defendant’s Motion, ECF
 5   No. 216, is GRANTED.
 6         Special Condition of Pretrial Release No. 28 is stricken. All previously
 7   ordered conditions not inconsistent herewith to remain in full force and effect.
 8         IT IS SO ORDERED.
 9         DATED November 1, 2017.
10
11                               _____________________________________
                                           JOHN T. RODGERS
12                                UNITED STATES MAGISTRATE JUDGE
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ORDER - 2
